           Case 3:22-cv-00006-DB Document 7 Filed 01/12/22 Page 1 of 3

                                                                                          FILED
                                                                                      January 12, 2022
                                                                                    CLERK, U.S. DISTRICT COURT
                             UNITED STATES DISTRICT                                 WESTERN DISTRICT OF TEXAS
                                                    COURT
                              WESTERN DISTRICT OF TEXAS                        BY       Michael    Trujillo
                                   EL PASO DWISION                                                   DEPUTY



  ERIK SALAIZ,                                          §
                                                        §
                                                        §
                               Plaintiff,            §
                V.                                  §
                                                    §
 NATIONAL TAX ADVISORY                              §
                                  SERVICES,
 LLC a California Limited Liability              §            EP-22-CV-0006-DB
                                    Company, and §
 MATTHEW LEVY
                                                 §
                                                    §
                              Defendants.           §
                                                    §


             PLAINTiFF'S MOTION TO DISMISS
                                                            WITHOUT PREJUDICE
        Plaintiff hereby requests the Court
                                            dismiss the case against MATTHEW
                                                                                 LEVY without
prejudice. Defendant MATTHEW LEVY
                                           has not filed an answer nor has made
                                                                                an appearance.



Dated January 11, 2022,
                                    Respectfully Submitted,




                                   Erik Salaiz
                                   Plaintiff, Pro Se
                                   319 Valley Fair Way
                                   El Paso, Texas 79907
                                   915-490-0898
                                   Salaiz.epgmail.com
           Case 3:22-cv-00006-DB Document 7 Filed 01/12/22 Page 2 of 3

                                                                                               FILED
                                                                                           January 12, 2022
                                                                                         CLERK, U.S. DISTRICT COURT
                                                                                         WESTERN DISTRICT OF TEXAS
                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS                        BY:       Mich1 Trujillo
                                       EL PASO DIVISION                                                    DEPUTY



  ERIK SALAIZ,
                                                       §
                                                       §
                                  Plaintiff,           §
                                                       §
                v.
                                                       §
                                                      §
 NATIONAL TAX ADVISORY SERVICES,
 LLC a California Limited Liability              §             EP-22-CV0006-DB
                                    Company, and §
 MATTHEW LEVY
                                                      §
                                                      §
                                 Defendants.          §
                                                      §




                                   CERTIFICATE OF SERVICE
       I hereby certify that on January
                                        11, 2022, I caused a true copy   of the foregoing,
PLAINTIFF'S MOTION TO DISMISS WITHOUT
                                                           PREJUDICE to be served via electronic
mail on all counsel of record.




Dated January 11, 2022,
                                       Respectfully Submitted,




                                       Erik Salaiz
                                       Plaintiff, Pro Se
                                       319 Valley Fair Way
                                       El Paso, Texas 79907
                                       915-490-0898
                                      Salaiz.epgmail.com
                         Case 3:22-cv-00006-DB Document 7 Filed 01/12/22 Page 3 of 3

      RECEIVED
      January 12, 2022
  CLERK, U.S. DISTRICT COURT
  WESTERN DISTRICT OF TEXAS

BY:    Michael TrujillQ
                     DEPUTY                UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF TEXAS
                                                 EL PASO DIVISION

                                                                  §
                ERIK SALAIZ,
                                                                  §
                                                                  §
                                            Plaintiff;            §
                                                                  §
                               V.
                                                                  §
                                                                  §
               NATIONAL TAX ADVISORY SERVICES,
                                                                  §     EP-22-CV-0006-DB
               LLC a California Limited Liability Company, and
                                                                  §
               MATTHEW LEVY
                                                                  §
                                                                 §
                                            Defendants.          §
                                                                 §




                                                  [PROPOSEDJ ORDER
                       Upon consideration ofPlaintifrs Motion to Dismiss Without
                                                                                   Prejudice, it is this,
                         dayof _______,2021,
                      ORDERED that Plaintiff's Motion to Dismiss Without Prejudice be
                                                                                      and is hereby
              GRANTED;




              SO ORDERED




                                                          United States District Judge
